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AO 442 (Rev. 11/11)'Arrest Warrant



                                        United States District Court
                                                                     for the

                                                     Eastern District of Virginia

                  United States of America
                                V.

                                                                               Case No. ^:21-cr-245
                      Igor Y. Danchenko
                                                                               UNDER SEAL
                            Defendant


                                                   ARREST WARRANT

To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested) igorV. Danchenko                                                                                       »
who is accused of an offense or violation based on the following document filed with the court:

    Indictment           □ Superseding Indictment         □ Information          □ Superseding Information              □ Complaint
□ Probation Violation Petition           □ Supervised Release Violation Petition           □ Violation Notice □ Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 1001(a)(2) False Statements/




Date:      1]     5
                                                                                                ng officer's signature

City and state:       Alexandria, Virginia                                         )-Lni-
                                                                                             Printed naifie and titie

                                                                     Return

          This warrant was received, on (date)   1 1 / "3 /'2.0z 1       ^        person was arrested on (date)           ^
at (city and state)    A*" 1' ^ vfcv \/ A                 •   .




Date:           l l/w/^-o'Z-i
                                                                                          Arresting officer's signature



                                                                                             Printed name and title
